    Case: 1:24-cv-00642-BMB Doc #: 18-2 Filed: 07/11/24 1 of 1. PageID #: 159



People v. Jason Lee Van Dyke. 19PDJ021. March 4, 2019.

The Presiding Disciplinary Judge approved the parties’ stipulation to reciprocal discipline and
suspended Jason Lee Van Dyke (attorney registration number 47445) for six months, all
stayed upon the successful completion of Van Dyke’s six-month period of probation in his
Texas disciplinary case, effective November 15, 2018.

This reciprocal discipline case arose out of discipline imposed in Texas. On December 28,
2018, Van Dyke and the Texas Commission for Lawyer Discipline entered into a stipulation to
discipline. Van Dyke’s discipline was premised on his threat to present criminal or disciplinary
charges solely to gain an advantage in connection with a civil matter. Van Dyke also
continued to represent a client after it reasonably appeared that his representation had
become adversely limited by Van Dyke’s own interests.

Van Dyke’s misconduct constitutes grounds for reciprocal discipline under C.R.C.P. 251.5 and
251.21. The case file is public per C.R.C.P. 251.31.
